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9
                                  UNITED STATES DISTRICT COURT
10
                                  EASTERN DISTRICT OF CALIFORNIA
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12
      United States of America,                 No. 1:20-CR-00093-NONE
13
                            Plaintiff,          ORDER SEALING EXHIBIT
14                                              1 OF DEFENDANT JOSE AVALOS-CASTRO’S
            v.                                  MOTION FOR BAIL REVIEW
15
      JOSE AVALOS-CASTRO,
16
                            Defendant.
17

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           Pursuant to Local Rule 141(b), and the Request to Seal filed on behalf of defendant,
19

20   Jose Avalos-Castro, IT IS HEREBY ORDERED that Exhibit 1 of Mr. Avalos-Castro’s Motion

21   for Bail Review be SEALED until further order of the Court.

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     IT IS SO ORDERED.
23

24       Dated:   July 8, 2020                          /s/ Barbara A. McAuliffe          _
                                                  UNITED STATES MAGISTRATE JUDGE
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